Case 19-24929-GLT      Doc 31    Filed 05/21/20 Entered 05/21/20 09:43:11         Desc Main
                                 Document     Page 1 of 1




                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: Robert L. Johnson III                                       CHAPTER 13
              Regina W. Johnson
                             Debtor(s)                       BKY. NO. 19-24929 GLT


                 ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

 To the Clerk:

        Kindly enter my appearance on behalf of Nissan-Infiniti LT and index same on the
 master mailing list.



                                               Respectfully submitted,

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